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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                               CASE NO. 1:06-cr-00041-MP-AK

RAYMOND REED, JR.,

      Defendant.
________________________________/

                                             ORDER

       This matter is before the Court on Doc. 80, Motion for New Trial, filed by Defendant

Raymond Reed, Jr. In his motion, Defendant Reed raises several arguments for why he should

have a new trial. This motion, however, is not grounded on any newly discovered evidence.

Therefore, under Rule 33(b)(2) of the Federal Rules of Criminal Procedure, Defendant was

required to file any request for a new trial within seven days after the verdict or finding of guilty.

Because the instant motion was not filed within this deadline, it is untimely. Therefore,

Defendant’s motion is denied.



       DONE AND ORDERED this              12th day of October, 2007


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
